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By: wILLlAM M. DAVIS, ESQUIRE Auomey for Plainuff ">§:\ ??, '/
Identil'rcation No. 93102 ‘ZO/“’»’?‘~ \~> §`.6\
1845 walnut Sr.,19th Floor \ ‘<`;é§»/ °°,o ~O
Philadelphia, PA 19103 (@;2_,, 4
(215) 931-0999 Fax 981-0977 §§ 18
wdavis@mpmpc.com 6/\((`5 //
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ERIC JOHNSON = COURT oF COMMON PLEAS
Plainuff : PH[LADELPHIA COUNTY
vs. : CIVIL SECTION
DEVEREUX FOUNDATION, z MAY TERM, 2014
~ No.- 01360
SHYKIR CREW
Defendants

 

AMENDED COMPLAINT - CIVIL ACTION
NOTICE

You have been sued in court. Ifyou wish to defend against the claims set forth in the following pages, you
must take action within twenty (20) days after this complaint and notice are served, by entering a written
appearance personally or by attorney and filing in writing with the court your defenses or objections to the
claims set forth against you. You are wamed that if you fail to do so the ease nmy proceed without you and
a judgment may be entered against you by the court without further notice for any money claimed in the
complaint or for any other claim or relief requested by the plaintiH`. You may lose money or property or
other rights important to you.

YOU SHOULD TAKE TH]S PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT HAVE A
LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THIS OFFICE CAN
PROVIDE YOU WITH INFORMA'I'ION ABOUT H[RlNG A LAWYER_

IF YOU CANNOT AFFORD TO H]RE A LAWYER, 'I'H]S OFFICE MAY BE ABL.E TO PROVIDE
YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL SERVICES TO
ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

PH]LADELPHIA BAR ASSOCIATION
Lawyer Referral and lnformation Service
One Rwding Center
Philadelphia, PA 19107
Telephone: 215-238-6333

JohnsonVsDevereuxFow\dation EItal-CMAMD

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INTRODUCTORY STA'I`EMENT

l. This is a civil action seeking money damages against Devereux Foundation and
its agents, servants, workmen, representatives and employees for willful actions, reckless
actions or negligent actions in the supervision of juveniles who had been placed in the
charge of Devereux I~`oundation, which led to one such juvenile, Shykir Crew, leaving the
Devereux Foundation Placement Facility where he had been ordered placed by a Judge of
the First Judicial District ofPennsylvania, and once he had left the premises, on June 22
and 23, 2011, he traveled to Philadelphia and robbed and shot the PlaintiH`, Eric Johnson.
PlaintiFf further alleges that Devereux Foundation failed to instruct, supervise and control
its agents, servants, workmen, representatives and employees and that, in tum, the lack of
supervision of juveniles, which led to Shykir Crew’s leaving Devereux Foundation, was
part cfa pattern, which was a result of official policy or the custom, practice and normal
behavior of the Devereux Foundation and its supervisors, agents, servants, workmen,
representatives and employees Further, the policy makers, supervisors, representatives
and employees of Devereux Foundation were deliberatelyindifferent to the supervision
of the juveniles in their charge, while knowing at all times that the juveniles posed a
threat to the community if they were to leave Devereux Foundation. The deliberate,
reckless and negligent lack of supervision of Shykir Crew, which allowed him to leave
Devereux Foundation and return to Philadelphia, where he robbed and shot Eric Johnson,
was the direct and proximate cause of the catastrophic injuries suffered by Eric Johnson.

PARTIES
2. PlaintiFf, Eric Johnson, is an adult individual currently residing at 7149

Greenway Ave_, Apt. A, Philadelphia, PA 19142_

 

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3. At all times referred to herein, Defendant Devereux Foundation was a business,
company, entity, partnership, franchise, fictitious name, proprietorship or corporatiom
duly incorporated and existing under the laws of the Commonwealth of Pennsylvania. In
this cause of action, Devereux Foundation acted through its supervisors agents, servants,
workmen and employees with its principal place of business being 444 Devereux Drive,
Villanova, PA 19085.

4. At all times referred to herein, Defendant Devereux Foundation maintained
facilities and a place of business at 655 Sugartown Rd., Malvern, PA 19355 and
Defendant David Woodward was employed by Devereux Foundation and has an
acceptable and proper place for service of process at said address

5. At all times referred to herein, Defendant Devereux Foundation maintained
facilities and a place of business at Devereux Rd., Glenmore, PA 19343 and Defendant
Byron Lee was employed by Devereux Foundation and has an acceptable and proper
place for service of process at said address

6. At all times referred to herein, Defendant Devereux Foundation maintained
facilities and a place of business at Devereux Rd., Glenmore, PA 19343 and Defendant
Byron Lee was employed by Devereux Foundation and has an acceptable and proper
place for service of process at said address

7. At all times referred to herein, Defendant Devereux Foundation maintained
facilities and a place of business at 151 Wannamaker Dr., Wallace Township, Chester
County, PA_

8. Defendant, Shykir Crew resides at SCI Camp I-lill, 2500 Lisbum Rd_, Lower

A]len, PA 17001.

 

 

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9. At all times referred to herein, Defendants David Woodward, Byron Lee and
Steven Rose worked as agents, servants, workmen, representatives and employees of
Devereux Foundation and were acting under the direction and control of Devereux
Foundation, and were acting pursuant to the policy, custom, practice and usage of
Devereux Foundation, and were at all times acting within the course and scope of their
employment and/or agency for a common purpose with Devereux Foundation.

10. ln September 2010, Shykir Crew was placed, pursuant to a First Judicial
District of Pennsylvania Court of Common Pleas court order, in a facility and eventually
came to reside at the Devereux Foundation, Children’s Behavioral Health Services,
Devereux School, located at 151 Wannamaker Drive, Wallace Township, Chester
County, PA. His placement was the result of his manifest and severe behavior issues, his
two arrests, one for burglary and one for drug possession, the inability of his parent to
provide proper care, as well as other reasons

11_ At all times relevant hereto, Defendant Devereux Foundation owed a duty to
the community members and communities from which their juvenile residents had come,
to provide a safe and secure facility while the juvenile residents remained in their care,
custody or control, knowing that the residents posed a threat and danger and were likely
to cause harm to others if they were released or escaped prior to their release from
commitment by an appropriate Court.

COUNT ONE
NEGLIGENCE
12. Plaintiff, Eric Johnson, incorporates by reference thereto, paragraphs one

through eleven, inclusive, as though the same were set forth herein at length.

 

 

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13. The recklessness gross negligence, negligence and/or carelessness of the
defendants consisted of the following:

(a) failing to properly and adequately hire and/or instruct the agents
servants workmen, employees and/or representatives of defendants
herein, as to safe and proper procedures for monitoring the security and
whereabouts of residents and/or inmates such as Shykir Crew, who was a
resident and/or inmate upon the premises

(t) failing to provide and maintain proper supervision of the premises
especially providing proper security, monitoring and/or assistance to
residents and/or inmates on the defendants’ premises

(h) failing to supervise its agents employees workmen and/or `
representatives to ensure the security and whereabouts of its residents
and/or inmates

(l) Negligence per se ', and

(m) negligence under the theory of res ipsa loquitor, there being no
non-negligent cause or explanation for the occurrence described above;
and'

14. The circumstances under which Plaintiff was injured were such that said
injuries to Plaintiff could not have occurred except by defendants’ recklessness gross
negligence, negligence and/or carelessness

15. The aforesaid incident resulted solely from the recklessness gross negligence,

negligence and carelessness of defendants herein and in no manner whatsoever due to

any act or failure to act on the part of said Plaintiff

 

 

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16. At all times referred to herein, Defendants David Woodward, Byron Lee and
Steven Rose worked as agents servants workmen, representatives and employees of
Devereux Foundation and were acting under the direction and control of Devereux
Foundation, and were acting pursuant to the policy, custom, practice and usage of
Devereux Foundation, and were at all times acting within the course and scope of their
employment and/or agencyvfor a common purpose with Devereux Foundation.

17. Due to the Defendant Devereux Foundation’s lack proper policies and
training, a lack of supervision by the agents servants workmen, representatives and
employees of Devereux Foundation, and the negligence of Defendant Devereux
Foundation and its agents servants workmen, representatives and employees Shykir
Crew was allowed to leave the facility on at least one occasion, if not multiple occasions
prior to June 22, 2011. These prior incidents were known to the Defendant Devereux
Foundation and were documented and recorded.

18_ Although Defendant Devereux Foundation knew about Shykir Crew’s prior
incidents of leaving the facility without permission, and although Defendant Devereux
Foundation knew of the danger that this action posed to the _community, specifically the
community in West Philadelphia, where Shykir Crew was known to live with his mother,
Defendant Devereux Foundation took no measures to ensure the safety and security of its
facility to ensure that Shykir Crew would not be able to leave the facility again_

19. On June 22, 201 l, due to the Defendant Devereux Foundation’s lack of and
improper policies and training, a lack of supervision by the agents servants workmen,
representatives and employees of Devereux Foundation, and the recklessness and/or

negligence of Defendant Devereux Foundation and its agents servants workmen,

 

 

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representatives and employees Shykir Crew was allowed to leave the facility.

20. As a direct and proximate result of the reckless grossly negligent and
negligent acts of Defendant Devereux Foundation described above, on the night of June
22, 2011 and into the early morning ofJune 23, 2011, Shykir Crew was allowed to travel
to his mother’s home in West Philadelphia

21_ As a direct and proximate result of the reckless grossly negligent and
negligent acts of Defendant Devereux Foundation described above, on June 23, 2011, at
approximater 2:00 am, while in the area of the 5300 block ofPoplar St., Shykir Crew
was able to , and did in fact, approach, rob and shoot Plaintiff Eric Johnson.

22. As a direct and proximate result of the intentional, reckless or negligent acts
ofDefendant Devereux Foundation described above, Plaintiff, Eric Johnson, suffered
serious and permanent injuries to his body, including but not limited to injuries to his
back, multiple internal organs and his spine.

23. At the time of Shykir Crew’s escape from the Devereux Facility, the area in
which Shykir Crew was being held or housed or was occupying was being monitored and
overseen by agents servants workmen, representatives or employees ofDevereux
Foundation, however, Shykir Crew was able to simply walk away from the facility, as he
had done before.

24_ As a direct, proximate and reasonable result of this incident, Plaintiff has been
obligated to receive and undergo reasonable and necessary medical treatment and
rehabilitative services for the extensive injuries he suffered and to incur various expenses
for said treatment and services

25. As a direct, proximate and reasonable result of this incident, Plaintiff will

 

 

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incur various reasonable and necessary future medical expenses from the injuries he
sustained and Defendants are liable for all of the same

26. As a further direct, proximate and reasonable result of this incident, Plaintiff
has suffered severe and actual loss of his gross income

27. As a further direct, proximate and reasonable result of this incident, Plaintiff
has suffered severe impairment of his earning capacity and power.

28. As a direct, proximate and reasonable result of this incident, Plaintiff will
hereafter incur other financial expenses and losses

29. As a further direct, proximate and reasonable result of this incident, Plaintiff
severe physical pain, aches mental anguish, humiliation, inconveniences and loss of
life’s pleasures and he will continue to suffer same for an indefinite time into the tiiture.

30. As a direct, proximate and reasonable result of this accident, Plaintiff has been
unable to attend to his daily chores duties and occupations and will be unable to do so for
an indefinite period of time into the fixture

31. At no time prior to March of 2014 did Plaintiff have any knowledge, nor was
there any reasonable way that Plaintiff could have known, that Shykir Crew had ever
been placed at or entrusted into the care of the Devereux Foundation. No reasonable
inquiry by Plaintiff would have led him to learn of Shykir Crew’s placement or escape
from the Devereux Foundation facility or Devereux Foundation’s negligence in allowing
Mr. Crew to leave the facility.

32. Plaintiff reported the facts of his being robbed and shot to Philadelphia Police
and at all times cooperated with their investigation Plaintiff also cooperated with the

Philadelphia District Attomey’s Offrce and the prosecution of Shykir Crew. However,

 

 

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Plaintiff was never told and had no reason to believe that Shykir Crew had ever been
placed at the Devereux Foundation facility, and no reasonable inquiry by Plaintiff would
have uncovered this information and the cause of his injury.

33_ Plaintiff knew Shykir Crew from the neighborhood they lived in and was
familiar with Crew’s mother. ln making reasonable inquiries of people in the
neighborhood, the Philadelphia Police and the Philadelphia District Attorney’s Office,
Plaintiff never had reason to believe, and all reasonable inquiries could not have revealed,
that his injuries were caused by anything more than the actions of Shykir Crew, who
Plaintiff knew to be indigent

WHEREFORE, Plaintiff, Eric Johnson, demands compensatory damages from
defendants jointly and/or severally, in a sum in excess of $50,000'.00 plus interest, costs
and other relief the Court may deem appropriate

COUNT TWO
ASSAULT AND BATTERY

34. Plaintiff, Eric Johnson, incorporates by reference thereto, paragraphs one
through thirty, inclusive, as though the same were set forth herein at length

35. On June 22, 2011, Shykir Crew escaped from a Devereux Foundation facility
and on June 23, 2011, Shykir Crew shot Plaintiff causing catastrophic injuries

36_ Devereux Foundation stood in loco parentis for Shykir Crew, knew of the
danger he posed to others due to his history of escapes and criminal behavior, and knew
that if he escaped he was most likely to return to his mother’s neighborhood, which is
exactly what he did. Defendant Devereux Foundation is therefore responsible and liable

for the actions of Shykir Crew, which they had reason to foresee and a duty to prevent

 

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37. At no time prior to March of 2014 did Plaintiff have any knowledge, nor was
there any reasonable way that Plaintiff could have known, that Shykir Crew had ever
been placed at or entrusted into the care of the Devereux Foundation. No reasonable
inquiry by Plaintiff would have led him to learn of Shykir Crew’s placement or escape
from the Devereux Foundation facility or Devereux Foundation’s negligence in allowing
Mr. Crew to leave the facility,

38. Plaintiff reported the facts of his being robbed and shot to Philadelphia Police
and at all times cooperated with their investigation Plaintiff also cooperated with the
Philadelphia District Attorney’s Office and the prosecution of Shykir Crew. However,
Plaintiff was never told and had no reason to believe that Shykir Crew had ever been
placed at the Devereux Foundation facility, and no reasonable inquiry by Plaintiff would
have uncovered this information and the cause of his injury_

39. Plaintiff knew Shykir Crew from the neighborhood they lived in and was
familiar with Crew’s mother. I,n making reasonable inquiries of people in the
neighborhood, the Philadelphia Police and the Philadelphia District Attorney’s Office,
Plaintiff never had reason to believe, and all reasonable inquiries could not have revealed,
that his injuries were caused by anything more than the actions of Shykir Crew, who

Plaintiff knew to be indigent

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WHEREFORE, Plaintiff, Eric Johnson, demands compensatory damages from
defendants jointly and/or severally, in a sum in excess of $50,000.00 plus interest, costs

and other relief the Court may deem appropriate

MCMONAGLE, PERRI, MCHUGH
& l\'l]SCHAI(, P.C.

1845 Walnut St., 19th Floor
Philadelphia, PA 19103

(/Q/ c._Q)

William M. Davis, Esq.
Attomey for Plaintiff, Eric Johnson

 

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VERIFICATION

WILLIAM M. DAVIS, ESQUIRE, verifies that the statements made in the

foregoing AMENDED COMPLAINT are true and correct to the best of his knowledge,

information and belief and understands that false statements herein are made subject to
the penalties of 18 Pa_ C. S. 4904, relating to unsworn falsification to authorities

William M_ Davis Esq_
Attomey for Plaintiff, Eric Johnson

 

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VERIFICATION

ERIC lOHNSON, verifies that the statements made in the foregoing AMENDED
COMPLAINT are true and correct to the best of his knowledge, information and belief
and understands that false statements herein are made subject to the penalties of 18 Pa. C.
S. 4904, relating to unsworn falsification to authorities

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Eric Johnson, Plaintiff

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CERTIFICATE OF SERVICE

WILLIAM M. DAVlS, ESQUiRE, hereby certifies that a true and correct copy of

the within document has been served by first class United States mail upon:

Yost & Tretta, LLP
Counsel for The Devereux Foundation
2 Penn Center, Suite 610
1500 JFK Blvd.
Philadelphia, PA 19102

Shykir Crew
SCI Greene
169 Progress Dr.
Waynesburg, PA 15370

@é/ C,`_@D
WILLIAM M. DAVIS, ESQUIRE
Attomey for defendant

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